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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 WARD BREHM,

                Plaintiff,

        v.
                                                         Civil Action No. 25-0660 (RJL)
 PETE MAROCCO, Acting Deputy
 Administrator for Policy and Planning and for
 Management and Resources for USAID, et al.,

                Defendants.


                       NOTICE OF SUPPLEMENTAL AUTHORITY

       Defendants, by and through the undersigned counsel, respectfully submits this notice of

supplemental authority.

       Plaintiff Ward Brehm’s assertion of irreparable harm is primarily based on an alleged

deprivation of his “statutory right to function” as president of the U.S. Africa Development

Foundation (the “Foundation”). Yesterday, the D.C. Circuit rejected an identical argument in

Dellinger v. Bessent, No. 25-5052 (D.C. Cir. Mar. 10, 2025), slip op. at 8, a case challenging

President Donald Trump’s decision to remove Hampton Dellinger as Director of the Office of

Special Counsel. The D.C. Circuit held that Dellinger had not demonstrated irreparable harm

based on his statutory rights to function as the Director, even “[a]ssuming he is correct that his

removal is statutorily ultra vires, and assuming that his removal constitutes a cognizable injury.”

Id. at 8. The Court elaborated that at worst, the harm to Dellinger would be that he “would remain

out of office for a short period of time.” Id. In contrast, “potential injury to the government of

both having its designated Acting Special Counsel sidelined and unable to act while also having

to try and unravel Dellinger’s actions is substantial.” Id.
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         The same logic applies here. Brehm has failed to demonstrate irreparable harm because

even if he prevails on the merits, the extent of the harm he experiences will be his “short period of

time out of office.” By contrast, granting a temporary restraining order here will cause significant

harm to the government by preventing implementation of the President’s directive to “reduce the

performance of [the Foundation’s] statutory functions and associated personnel to the minimum

presence and function required by law.” Exec. Order No. 14,217, 90 Fed. Reg. 10577 (Feb. 25,

2025).

         Defendants attach a copy of the D.C. Circuit’s ruling in Dellinger hereto for the Court’s

convenience.

 Dated: March 11, 2025                          Respectfully submitted,
        Washington, DC
                                                EDWARD R. MARTIN, JR., D.C. Bar #481866
                                                United States Attorney

                                                BRIAN P. HUDAK
                                                Chief, Civil Division


                                                By:           /s/ John J. Bardo
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